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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA
                                                         )
US DOMINION, INC., DOMINION VOTING                       )
SYSTEMS, INC., and DOMINION VOTING                       )
SYSTEMS CORPORATION,                                     )
                                                              Civil Action No. 1:21-cv-00040-CJN
       Plaintiffs,                                       )
                                                         )
               v.                                        )
SIDNEY POWELL, SIDNEY POWELL, P.C., and                  )
DEFENDING THE REPUBLIC, INC.,                            )
                                                         )
       Defendants.                                       )
                                                         )
                                DEFENDANTS’ MOTION TO DISMISS

       Pursuant to FED. R. CIV. P. 12(b)(2), (3), and (6) and to 28 U.S.C. §§ 1404(a) and 1406(a),

defendants Sidney Powell, Sidney Powell, P.C. and Defending the Republic, Inc. move to dismiss

the Complaint (ECF #1) or, alternatively, to transfer this action to the United States District Court

for the Northern District of Texas.

       Arguments in support of this motion are set forth in the accompanying Memorandum of

Point and Authorities and the exhibits to that Memorandum, including the declarations of Sidney

K. Powell and Patrick M. Byrne.

       Although not required for dispositive motions, the parties conferred pursuant to Local Civil

Rule 7(m). The defendants oppose this motion.

       Defendants respectfully request the opportunity for oral argument on their motion. A

proposed order is attached.
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Dated: March 22, 2021                            Respectfully submitted,

                                                  /s/ Lawrence J. Joseph
                                                 _____________________________________
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                                  CERTIFICATE OF SERVICE
       I hereby certify that on this 22nd day of March, 20221, I electronically filed the foregoing

motion—together with the accompanying proposed order, memorandum of law, and exhibits—

with the Clerk of the Court using the CM/ECF system, which I understand to have caused service

of the counsel for the parties.



                                               /s/ Lawrence J. Joseph
                                             Lawrence J. Joseph
